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 4
     Attorney for Defendant
 5   JUAN SANCHEZ
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9               FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,               )       CASE NO. CR-F-04-5209 AWI
                                             )
11                                           )       STIPULATION TO RESCHEDULE
                                             )       SENTENCING FROM 1/9/06 TO
12         Plaintiff,                        )       1/23/06
                                             )
13   vs.                                     )
                                             )       NEW DATE: January 23, 2006
14                                           )       TIME: 9:00 a.m.
     JUAN SANCHEZ,                           )
15                                           )
           Defendants.                       )
16                                           )
17         KATHERINE HART, attorney for JUAN SANCHEZ, and LAUREL
18   MONTOYA, Assistant United States Attorney, hereby stipulate that the sentencing
19   date previously set for January 9, 2006 at 9:00 a.m. be reset to January 23, 2006 at
20   9:00 a.m. in order to prepare for sentencing and to determine defendant’s eligibility
21   for the Safety Valve.
22
23   DATED: 12/29/05           /s/ Katherine Hart
                               KATHERINE HART, Attorney for Defendant
24
25
     DATED: 12/29/05           /s/ Laurel Montoya
26                             LAUREL MONTOYA, Assistant United States
                               Attorney
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28                                               1
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 1                                       ORDER
 2
 3         Counsel having stipulated to continue the sentencing to January 23, 2006,
 4   it is hereby ordered that the sentencing previously set for January 9, 2006 at 9:00
 5   a.m. be reset to January 23, 2006 at 9:00 a.m.
 6
 7   IT IS SO ORDERED.
 8   Dated:     January 4, 2006               /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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